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IN THE UNITED sTATEs DISTRICT coURT 4 y '
FOR THE wEsTERN DISTRICT oF TENNESSEE
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CLERK. U.S. UF'§-TP§CT COURT

  

GLENDA R . GR_AY ,
Plaintiff,

vs. No. 05-2388-Ma/V

FEDEX CORPORATION,

Defendant.

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ORDER DENYING LEAVE TO PROCEED §§ FORMA PAUPERIS
AND
ORDER DIRECTING PLAINTIFF TO PAY THE CIVIL FILING FEE

 

Plaintiff Glenda R. Gray filed a p;p §§ complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e pp §pgp, on May 26, 2005, along with a motion seeking leave
to proceed ip fp;ma pauperis.

Federal law provides that the “clerk of each district
court shall require the parties instituting any civil action, suit
or proceeding in such court, whether by original process, removal
or otherwise, to pay a filing fee of $150.” 28 U.S.C. § l9l4(a}. To
ensure access to the courts, however, 28 U.S.C. § 1915(a) permits
an indigent plaintiff to avoid payment of filing fees by filing an
ip fp;ma pauperis affidavit. Under that section, the Court must
conduct a satisfactory inquiry into the plaintiff's ability to pay
the filing fee and prosecute the lawsuit. A plaintiff seeking lp

fprma pauperis standing must respond fully to the questions on the

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Court's ip _§p;pa_ pauperis form and execute the affidavit in
compliance with the certification requirements contained in 28
U.S.C. § 1746. See, e.g., Flippin v. Coburn, 107 Fed. Appx. 520
(6th Cir. Aug. 13, 2004); Revnolds v. Federal Bur. of Prisons, 30
Fed. Appx. 574 (6th Cir. Mar. ll, 2002); Brogue v. Fort Knox Fed.
Credit Union, NO. 86-1896, 1997 WL 242043 (6th Cir. May 8, 1997).

The information set forth in the plaintiff's ip fp;ma
pauperis affidavit does not satisfy her burden of demonstrating
that she is unable to pay the filing fee or give security therefor.
Instead, the affidavit demonstrates that the plaintiff is gainfully
employed, has no dependents, owns her own house and late-model car,
and has no extraordinary expenses. Accordingly, the wmtion to
proceed ip fp;m§ pauperis is DENIED.

The plaintiff is ORDERED, within thirty (30) days of the
date of entry of this order, to pay the $250 civil filing fee.
Failure timely to comply with this order will result in dismissal
of this action, pursuant to Fed. R. Civ. P. 4l(b), for failure to
prosecute.

IT IS SO ORDERED this ls day Of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02388 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

Glenda R. Gray
4420 Sphinx Cove
l\/lemphis7 TN 38128

Honorable Samuel Mays
US DISTRICT COURT

